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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                EBH Big Rock, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5000 Airport Plaza Drive
                                  Suite 100
                                  Long Beach, CA 90815
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.elementsbehavioralhealth.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    EBH Big Rock, Inc.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6232

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Schedule 1                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   EBH Big Rock, Inc.                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal               Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor    EBH Big Rock, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       5/23/2018
                                                  MM / DD / YYYY


                             X   /s/ Martin McGahan                                                       Martin McGahan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Christopher A. Ward                                                   Date    5/23/2018
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Christopher A. Ward
                                 Printed name

                                 Polsinelli
                                 Firm name

                                 222 Delaware Ave.
                                 Suite 1101
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 252-0920                Email address      cward@polsinelli.com

                                 3877 DE
                                 Bar number and State




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                                          SCHEDULE 1
             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware (the “Court”). A
motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to the
chapter 11 case of EBH Topco, LLC.

        EBH Topco, LLC
        EBH Holding Company, Inc.
        Elements Behavioral Health, Inc.
        Assurance Toxicology Services, LLC
        EBH Acquisition Subsidiary, Inc.
        EBH Big Rock, Inc.
        EBH Services of Florida, Inc.
        EBH Northeast Services, Inc.
        EBH Southwest Services, Inc.
        Elements Screening Services, Inc.
        Intensive Outpatient Services PA, Inc.
        NE Sober Living, Inc.
        Northeast Behavioral Services, Inc.
        Outpatient Services FL, Inc.
        Outpatient Services TN, Inc.
        SoCal Rehab and Recovery, Inc.
        Southeast Behavioral Health Services, Inc.
        The Ranch on the Piney River, Inc.
        The Sexual Recovery Institute, Inc.
        Westside Sober Living Centers, Inc.
        Spirit Lodge, LLC
        San Cristobal Treatment Center, LLC
        Ehrman Subsidiary Corp.
        PROMAL2, Inc.
        PROMAL4, Inc.
        SBAR2, Inc.
        Promises Residential Treatment Center VI, Inc.
        Wrightsville Services, LLC
        Elements Medical Group of Arizona, Inc.
        TRS Behavioral Care, Inc.
        Elements Medical Group of Mississippi, Inc.
        Elements Medical Group of Utah, Inc.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                           Chapter 11
EBH TOPCO, LLC, et al.,1
                                                           Case No. 18-______ (___)
                  Debtors.
                                                           (Joint Administration Pending)


      CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
         FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007AND 7007.1

        Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the above-captioned debtors and debtor in possession (collectively, the “Debtors”) attach hereto
as Exhibit A an organizational chart reflecting all of their ownership interests. The Debtors
respectfully represent as follows:

      1.     NEA owns approximately fifty percent (50%) of the equity interests of EBH
TOPCO, LLC, Frazier Healthcare Ventures owns approximately eighteen percent (18%), and
Formation Capital owns approximately fourteen percent (14%). To the best of the Debtors’
knowledge and belief, no other person or entity directly owns 10% or more of the equity interests
of EBH Topco, LLC.

        2.     EBH Topco, LLC owns approximately ninety-nine percent (99%) of the equity
interests of EBH Holding Company, Inc.

        3.      EBH Holding Company, Inc. owns one hundred percent (100%) of the equity
interests of Elements Behavioral Health, Inc.

        4.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of EBH Big Rock, Inc.


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are EBH Topco, LLC (6103), Elements Behavioral Health, Inc. (7176), EBH Holding Company, Inc.
(0370), EBH Big Rock, Inc. (1880), SoCal Rehab and Recovery, Inc. (3741), The Sexual Recovery Institute, Inc.
(1279), Westside Sober Living Centers, Inc. (5717), Ehrman Subsidiary Corp. (3958), PROMAL2, Inc. (1377),
PROMAL4, Inc. (2453), SBAR2, Inc. (9844), Promises Residential Treatment Center VI, Inc. (1112), Assurance
Toxicology Services, LLC (9612), Elements Screening Services, Inc. (0055), TRS Behavioral Care, Inc. (6343),
Spirit Lodge, LLC (1375), San Cristobal Treatment Center, LLC (1419), EBH Acquisition Subsidiary, Inc. (6132),
EBH Services of Florida, Inc. (6802), Outpatient Services FL, Inc. (9596), EBH Northeast Services, Inc. (3551),
Intensive Outpatient Services PA, Inc. (5581), Wrightsville Services, LLC (9535), NE Sober Living, Inc. (1955),
Northeast Behavioral Services, Inc. (8881), The Ranch on Piney River, Inc. (0195), Outpatient Services TN, Inc.
(5584), EBH Southwest Services, Inc. (5202), Elements Medical Group of Utah, Inc. (9820), Southeast Behavioral
Health Services, Inc. (1267), Elements Medical Group of Mississippi, Inc. (4545), and Elements Medical Group of
Arizona, Inc. (8468). The location of the Debtors’ mailing address is 5000 Airport Plaza Dr., Suite 100, Long Beach,
California 90815.


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        5.      Elements Behavioral Health, Inc. owns approximately ninety-nine percent (99%)
of the equity interests of Assurance Toxicology Services, LLC.

        6.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of EBH Acquisition Subsidiary, Inc.

        7.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of EBH Northeast Services, Inc.

        8.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of NE Sober Living, Inc.

        9.      Elements Behavioral Health, Inc. owns approximately ninety-five percent (95%)
of the equity interests of The Ranch on Piney River, Inc.

        10.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of EBH Southwest Services, Inc.

        11.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Southeast Behavioral Health Services, Inc.

        12.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Elements Medical Group of Arizona, Inc.

        13.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of SoCal Rehab and Recovery, Inc.

        14.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Elements Screening Services, Inc.

        15.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of EBH Services of Florida, Inc.

        16.      Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Intensive Outpatient Services PA, Inc.

        17.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Northeast Behavioral Services, Inc.

        18.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Outpatient Services TN, Inc.

        19.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Elements Medical Group of Utah, Inc.




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        20.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Elements Medical Group of Mississippi, Inc.

        21.     Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of The Sexual Recovery Institute, Inc.

        22.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of TRS Behavioral Care, Inc.

        23.    Elements Behavioral Health, Inc. owns one hundred percent (100%) of the equity
interests of Outpatient Services FL, Inc.

        24.     Elements Behavioral Health, Inc. owns ninety percent (90%) of the equity
interests of Wrightsville Services, LLC and Recovery River Rehab, LLC owns ten percent (10%)
of the equity interests of Wrightsville Services, LLC.

        25.     Elements Behavioral Health, Inc. owns approximately ninety-five percent (95%)
of the equity interests of Westside Sober Living Centers, Inc.

        26.     Westside Sober Living Centers, Inc. owns one hundred percent (100%) of the
equity interests of Ehrman Subsidiary Corp.

        27.     Westside Sober Living Centers, Inc. owns one hundred percent (100%) of the
equity interests of PROMAL2, Inc.

        28.     Westside Sober Living Centers, Inc. owns one hundred percent (100%) of the
equity interests of PROMAL4, Inc.

        29.     Westside Sober Living Centers, Inc. owns one hundred percent (100%) of the
equity interests of SBAR2, Inc.

        30.     Westside Sober Living Centers, Inc. owns one hundred percent (100%) of the
equity interests of Promises Residential Treatment Center VI, Inc.

        31.     TRS Behavioral Care, Inc. owns one hundred percent (100%) of the equity
interests of Spirit Lodge, LLC.

        32.     TRS Behavioral Care, Inc. owns one hundred percent (100%) of the equity
interests of San Cristobal Treatment Center, LLC.




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                                  EXHIBIT A

                             (Organizational Chart)




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                                                                                                      EBH TOPCO, LLC
                                                                                                              Inc. 10/08/2015 in DE


                                                                                                       EBH Holding Company, Inc.
                                                                                                              Inc. 10/14/2011 in DE


                                                                                                   Elements Behavioral Health, Inc.
                                                                                                              Inc. 06/12/2007 in DE


                                                                                                                                 NE Sober Living, Inc.           The Ranch on the Piney                                    Southeast Behavioral           Elements Medical
   EBH Big Rock, Inc.           Assurance Toxicology           EBH Acquisition               EBH Northeast                                                             River, Inc.              EBH Southwest               Health Services, Inc.       Group of Arizona, Inc.
                                    Services, LLC              Subsidiary, Inc.               Services, Inc.                  DBA:                                                                                        DBA:
                                  f/k/a Elements Youth                                                                                                                                           Services, Inc.
                                                           DBA:                         f/k/a Youth Health YC, Inc.           - Boardwalk Sober Living                                                                    - COPAC
                                      Services, Inc.                                                                                                                                        f/k/a Youth Health CC, Inc.                                   Inc. 01/12/2017 in AZ
                                                           - The Recovery Place         DBA:                                                                        Inc. 02/02/1999 in TN                                 - The Ranch Mississippi
                                                           - Bel Canto Detox Center
                                                                                                                                                                                            DBA:
   Inc. 01/16/2013 in CA           Inc. 06/13/2013 in DE                                - Clarity Way                              Inc. 12/30/2014 in DE               Acq. 06/30/2010      - Journey Healing Centers        Inc. 08/04/2014 in DE
                                                                Inc. 06/02/2011 in DE   - Clarity Way Monitoring
                                                                                                                                                                                            - Journey Recovery
                                                                                           Inc. 06/13/2013 in DE                                                                            Centers
                                                                                                                                                                                            - Journey at Willowcreek
    SoCal Rehab and                                                                                                                                                                         - Promises Scottsdale
                                 Elements Screening        EBH Services of Florida,      Intensive Outpatient                   Northeast Behavioral               Outpatient Services                                       Elements Medical
     Recovery, Inc.                                                                                                                                                                            Inc. 06/13/2013 in DE
                                    Services, Inc.                  Inc.                   Services PA, Inc.                        Services, Inc.                      TN, Inc.                                            Group of Mississippi,
                                                                                                                              DBA:
                                   f/k/a Elements Lab      DBA:                                                                                                                                                                     Inc.
                                                                                                                              - Park Bench Group Counseling
                                      Services, Inc.       - Lucida Treatment Center                                                                                                                                          Inc. 01/11/2017 in MS
                                                                                                                              - Promises New Jersey
                                   Inc. 10/10/2012 in TX       Inc. 08/01/2012 in DE       Inc. 02/12/2015 in DE                                                    Inc. 12/12/2015 in DE     Elements Medical
   Inc. 11/12/2014 in DE                                                                                                           Inc. 10/29/2014 in DE
                                                                                                                                                                                              Group of Utah, Inc.
                                                                                                                                                                                               Inc. 01/17/2017 in UT
                                                                                         Wrightsville Services,
 The Sexual Recovery            TRS Behavioral Care,
                                                           Outpatient Services FL,               LLC
    Institute, Inc.                    Inc.
                                                                    Inc.                DBA:
                               DBA:
                                                                                        - Brightwater Landing
   Inc. 06/28/1999 in CA       - The Right Step
                                                               Inc. 02/12/2015 in DE    - The Ranch Pennsylvania
      Acq. 11/19/2010           Inc. 12/05/1990 in TX
                                                                                           Inc. 01/27/2014 in DE


Westside Sober Living                                                                                                                                                                                                             States of Operation
   Centers, Inc.
DBA:
                                                                                                                                                                                                                                      AZ
- Promises Treatment Centers
- Promises Malibu                                                                                                                                                                                                                     CA        CA
- Promises West LA
- Promises Malibu Vista
     Inc. 10/12/1988 in CA                                                                                                                                                                                                            TX         TX
        Acq. 01/31/2008            Spirit Lodge, LLC
                                  DBA:                                                                                                                                                                                               NM
                                  - Promises Austin
        Ehrman
                                  Inc. 08/16/2007 in TX                                                                                                                                                                               FL
     Subsidiary Corp.
     Inc. 12/03/2008 in CA
                                      San Cristobal
                                                                                                                                                                                                                                      PA
                                   Treatment Center,
      PROMAL2, Inc.                        LLC
                                  Inc. 01/13/2012 in TX                                                                                                                                                                               NJ
     Inc. 05/25/2004 in CA
                                                                                                                                                                                                                                      TN
      PROMAL4, Inc.
                                                                                                                                                                                                                                      UT
     Inc. 06/22/2006 in CA

                                                                                                                                                                                                                                      MS
        SBAR2, Inc.                                                                                                Minority Interest Holders

                                                                                              Westside Sober Living Centers, Inc - 4.55% Richard Rogg                                                                                Dormant entities
     Inc. 06/07/2004 in CA
                                                                                              The Ranch on Piney River, Inc. - 5% Cheryl Brown
         Promises                                                                             Wrightsville Services, LLC - 10% Recovery River Rehab, LLC
        Residential                                                                           Assurance Toxicology Services, LLC - 0.17% SPB Investments, LLC
     Treatment Center                                                                         EBH Holding Company, Inc. - 0.06% Stockholders
          VI, Inc.
     Inc. 07/16/2010 in CA
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                                 ACTION BY UNANIMOUS WRITTEN CONSENT OF
                                             THE DIRECTORS OF
                                    EBH TOPCO, LLC AND ITS SUBSIDIARIES

                                                             May 22, 2018

                    Under the provisions of the Second Amended and Restated Limited Liability Company
            Agreement of EBH Topco, LLC (the “Company”), a limited liability company duly organized
            and validly existing under the laws of the State of Delaware, as amended, and the Delaware
            Limited Liability Company Act, as amended, effective as of the date written above, the
            undersigned constituting all of the Directors of the Company and the directors of each of the
            Company’s subsidiaries , hereby consent in writing that the following resolutions be adopted and
            direct that this consent be filed with the Company’s (and each of the Company’s subsidiaries’)
            official minutes, to have the same force as a unanimous vote of the Directors (and the directors
            of each of the Company’s subsidiaries) at a meeting duly held this date:

            A.       Chapter 11 Filing

                   WHEREAS, the Directors considered presentations by management and the financial
            and legal advisors of the Company regarding the liabilities and liquidity situation of the
            Company, the strategic alternatives available to it and the effect of the foregoing on the
            Company’s business; and

                    WHEREAS, the Directors have had the opportunity to consult with the management and
            the financial and legal advisors of the Company and fully consider each of the strategic
            alternatives available to the Company.

            NOW, THEREFORE, IT IS

                    RESOLVED, that in the judgment of the Directors it is desirable and in the best interests
            of the Company to appoint Martin McGahan from ALVAREZ & MARSAL LLC to serve as
            chief restructuring officer (the “Chief Restructuring Officer”) of the Company; and it is further

                    RESOLVED, that in the judgment of the Directors, it is desirable and in the best
            interests of the Company, its creditors, and other parties in interest, that the Company shall be
            and hereby is authorized to file or cause to be filed voluntary petitions for relief for the Company
            and each of the Company’s affiliates (each affiliate is listed on the attached Schedule 1 and
            collectively referred to herein as the “Chapter 11 Cases”) under the provisions of chapter 11 of
            title 11 of the United States Code (the “Bankruptcy Code”) in a court of proper jurisdiction (the
            “Bankruptcy Court”); and it is further

                    RESOLVED, that any officer of the Company and the Chief Restructuring Officer
            (collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
            Officers be, and they hereby are, authorized, empowered and directed to execute and file on
            behalf of the Company all petitions, schedules, lists and other motions, papers, or documents,
            and to take any and all action that they deem necessary or proper to obtain such relief, including,




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            without limitation, any action necessary to maintain the ordinary course operation of the
            Company’s business; and it is further

                   RESOLVED, that the Authorized Officers, acting alone or with one or more other
            Authorized Officers, be, and they hereby are, authorized, empowered and directed to certify the
            authenticity of these resolutions.

            B.       Retention of Professionals

                    IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and they
            hereby are, authorized and directed to employ the law firm of POLSINELLI PC as general
            bankruptcy counsel to represent and assist the Company in carrying out its duties under the
            Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
            obligations, including filing any pleadings; and in connection therewith, each of the Authorized
            Officers, with power of delegation, are hereby authorized and directed to execute appropriate
            retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
            application for authority to retain the services of POLSINELLI PC; and it is further

                   RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized
            and directed to employ the firm of ALVAREZ & MARSAL LLC to represent and assist the
            Chief Restructuring Officer and the Company in carrying out its duties under the Bankruptcy
            Code, and to take any and all actions to advance the Company’s rights and obligations; and in
            connection therewith, each of the Authorized Officers are, with power of delegation, hereby
            authorized and directed to execute appropriate retention agreements, pay appropriate retainers,
            and to cause to be filed an appropriate application for authority to retain the services of
            ALVAREZ & MARSAL LLC; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized
            and directed to employ the firm of HOULIHAN LOKEY CAPITAL, INC. as investment banker
            to represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to
            take any and all action to advance the Company’s right and obligations; and in connection
            therewith, each of the Authorized Officers, with power of delegation, are hereby authorized and
            directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
            be filed an appropriate application for authority to retain the services of HOULIHAN LOKEY
            CAPITAL, INC.; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized
            and directed to employ the firm of DONLIN, RECANO & COMPANY, INC. as notice, claims,
            and balloting agent and as administrative advisor to represent and assist the Company in carrying
            out its duties under the Bankruptcy Code, and to take any and all actions to advance the
            Company’s rights and obligations; and in connection therewith, each of the Authorized Officers,
            with power of delegation, are hereby authorized and directed to execute appropriate retention
            agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
            authority to retain the services of DONLIN, RECANO & COMPANY, INC.; and it is further

                   RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized
            and directed to employ any other professionals to assist the Company in carrying out its duties

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            under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with
            power of delegation, are hereby authorized and directed to execute appropriate retention
            agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
            authority to retain the services of any other professionals as necessary; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, with power
            of delegation, authorized, empowered and directed to execute and file all petitions, schedules,
            motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
            and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
            and to take and perform any and all further acts and deeds that each of the Authorized Officers
            deem necessary, proper, or desirable in connection with the Chapter 11 Cases, with a view to the
            successful prosecution of such cases.

            C.       Cash Collateral and Adequate Protection

                    RESOLVED, that the Company will obtain benefits from the use of collateral, including
            cash collateral, as that term is defined in Bankruptcy Code section 363(a) (the “Collateral”),
            which is security for Project Build Behavioral Health, LLC (“First Lien Lender”), as successor-
            in-interest to the first lien lenders party to that certain Second Amended and Restated Credit
            Agreement, dated as of February 12, 2014 (as amended, modified or supplemented and in effect
            immediately prior to the Petition Date, the “First Lien Credit Agreement”); and it is further

                    RESOLVED, that to use and obtain the benefits of the Collateral and in accordance with
            Bankruptcy Code section 363, the Company will provide certain adequate protection to the First
            Lien Lender (the “Adequate Protection Obligations”), as documented in a proposed interim order
            (the “Cash Collateral Order”) and submitted for approval to the Bankruptcy Court; and it is
            further

                    RESOLVED, that the form, terms and provisions of the Cash Collateral Order to which
            the Company is or will be subject, and the actions and transactions contemplated thereby be, and
            hereby are authorized, adopted and approved, and each of the Authorized Officers of the
            Company be, and they hereby are, authorized and empowered, in the name of and on behalf of
            the Company, to take such actions and negotiate or cause to be prepared and negotiated and to
            execute, deliver, perform, and cause the performance of, the Cash Collateral Order, and such
            other agreements, certificates, instruments, receipts, petitions, motions or other papers or
            documents to which the Company is or will be a party (collectively with the Cash Collateral
            Order, the “Cash Collateral Documents”), incur and pay or cause to be paid all fees and expenses
            and engage such persons, in each case, in the form or substantially in the form thereof submitted
            to the Directors, with such changes, additions, and modifications thereto as the officers of the
            Company executing the same shall approve, such approval to be conclusively evidenced by such
            officers’ execution and delivery thereof; and it is further

                    RESOLVED, that the Company, as debtor and debtor-in-possession under the
            Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations (as
            set forth in the Cash Collateral Order) and to undertake any and all related transactions on
            substantially the same terms as contemplated under the Cash Collateral Documents (collectively,
            the “Adequate Protection Transactions”); and it is further
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                    RESOLVED, that the Authorized Officers of the Company be, and they hereby are,
            authorized and directed, and each of them acting alone hereby is, authorized, directed, and
            empowered in the name of, and on behalf of, the Company, as debtor and debtor-in-possession,
            to take such actions as in their discretion is determined to be necessary, desirable, or appropriate
            and execute the Adequate Protection Transactions, including delivery of: (a) the Cash Collateral
            Documents and such agreements, certificates, instruments, guaranties, notices and any and all
            other documents, including, without limitation, any amendments to any Cash Collateral
            Documents (collectively, the “Adequate Protection Documents”); (b) such other instruments,
            certificates, notices, assignments, and documents as may be reasonably requested by the First
            Lien Lender; and (c) such forms of deposit, account control agreements, officer’s certificates and
            compliance certificates as may be required by the Cash Collateral Documents or any other
            Adequate Protection Document; and it is further

                    RESOLVED, that each of the Authorized Officers of the Company be, and they hereby
            are, authorized, directed, and empowered in the name of, and on behalf of, the Company to file
            or to authorize the First Lien Lender to file any Uniform Commercial Code (the “UCC”)
            financing statements, any mortgages, any other equivalent filings, any intellectual property
            filings and recordation, and any necessary assignments for security or other documents in the
            name of the Company that the First Lien Lender deems necessary or appropriate to perfect any
            lien or security interest granted under the Cash Collateral Order, including any such UCC
            financing statement containing a generic description of collateral, such as “all assets,” “all
            property now or hereafter acquired,” and other similar descriptions of like import, and to execute
            and deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
            respect of real property of the Company and such other filings in respect of intellectual and other
            property of the Company, in each case as the First Lien Lender may reasonably request to perfect
            the security interests of the First Lien Lender under the Cash Collateral Order; and it is further

                    RESOLVED, that each of the Authorized Officers of the Company be, and they hereby
            are, authorized, directed, and empowered in the name of, and on behalf of, the Company to take
            all such further actions, including, without limitation, to pay or approve the payment of all fees
            and expenses payable in connection with the Adequate Protection Transactions and all fees and
            expenses incurred by or on behalf of the Company in connection with the foregoing resolutions,
            in accordance with the terms of the Adequate Protection Documents, which shall in their sole
            judgment be necessary, proper or advisable to perform the Company’s obligations under or in
            connection with the Cash Collateral Order or any of the other Adequate Protection Documents
            and the transactions contemplated therein and to carry out fully the intent of the foregoing
            resolutions; and it is further

                    RESOLVED, that each of the Authorized Officers of the Company be, and they hereby
            are, authorized, directed, and empowered in the name of, and on behalf of, the Company, to
            execute and deliver any amendments, supplements, modifications, renewals, replacements,
            consolidations, substitutions and extensions of the Cash Collateral Order or any of the Adequate
            Protection Documents or to do such other things which shall in their sole judgment be necessary,
            desirable, proper, or advisable to give effect to the foregoing resolutions, which determination
            shall be conclusively evidenced by their execution thereof


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            D.       Debtor-in-Possession Financing

                   IT IS FURTHER RESOLVED, that the Company, as debtor and debtor-in-possession
            under the Chapter 11 Cases shall be, and hereby is, authorized by the Directors to: (a) undertake
            any and all transactions contemplated in the Debtor In Possession Creditor Agreement (the “DIP
            Credit Agreement”) by and among the Company, as the Borrower, First Lien Lender as Lender,
            on substantially the terms and subject to the conditions described to the Directors and as set forth
            in the DIP Credit Agreement or as may hereafter be fixed or authorized by each of the
            Authorized Officers (and their designees and delegates), acting alone or with one or more other
            Authorized Officers; (b) borrow funds from and undertake any and all related transactions
            contemplated thereby (collectively, the “Financing Transactions” and each such transaction a
            “Financing Transaction”) with such First Lien Lenders and on such terms as may be approved by
            any one or more of the Authorized Officers, as reasonably necessary for the continuing conduct
            of the affairs of the Company; (c) execute and deliver and cause the Company to incur and
            perform its obligations under the DIP Credit Agreement and Financing Transactions; (d) finalize
            the DIP Credit Agreement and Financing Transactions, consistent in all material respects with
            those that have been presented to and reviewed by the Directors; and (e) pay related fees and
            grant security interests in and liens upon some, any or all of the Company’s assets, as may be
            deemed necessary by any one or more of the Authorized Officers in connection with such
            Financing Transactions; and it is further

                    RESOLVED, that each of the Authorized Officers (and their designees and delegates),
            acting alone or with one or more other Authorized Officers be, and they hereby are, authorized,
            directed, and empowered in the name of, and on behalf of, the Company, as debtor and debtor-
            in-possession, to take such actions and negotiate or cause to be prepared and negotiated and to
            execute, file, deliver and cause the Company to incur and perform its obligations under the DIP
            Credit Agreement and the other “DIP Loan Documents” (as defined in the DIP Credit
            Agreement) (collectively, the “DIP Loan Documents”), and all other agreements, instruments
            and documents or any amendments thereto or waivers thereunder (including, without limitation,
            any amendments, waivers or other modifications of any of the DIP Loan Documents) that may
            be contemplated by, or required in connection with, the DIP Credit Agreement, the other DIP
            Loan Documents and the Financing Transactions (collectively, the “DIP Financing Documents”),
            incur and pay or cause to be paid all fees and expenses and engage such persons, in each case, as
            such Authorized Officer shall in his or her judgment determine to be necessary or appropriate to
            consummate the transactions contemplated by the DIP Credit Agreement and the other DIP Loan
            Documents, which determination shall be conclusively evidenced by his or her execution or
            delivery thereof; and it is further

                     RESOLVED, that the form, terms and provisions of the DIP Credit Agreement and each
            of the other DIP Loan Documents to which the Company is a party be, and the same hereby are
            in all respects approved, and that any Authorized Officers or other officers of the Company are
            hereby authorized and empowered, in the name of and on behalf of the Company, to execute and
            deliver and to execute and file the DIP Credit Agreement and each of the DIP Loan Documents
            to which the Company is a party, each in the form or substantially in the form thereof submitted
            to the Directors, with such changes, additions and modifications thereto as the officers of the
            Company executing the same shall approve, such approval to be conclusively evidenced by such
            officers’ execution and delivery thereof; and it is further
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                    RESOLVED, that the Authorized Officers and each other officer of the Company be,
            and each of them hereby are, authorized and empowered to authorize First Lien Lender to file
            any UCC financing statements and any necessary assignments for security or other documents in
            the name of the Company that the First Lien Lender deems necessary or appropriate to perfect
            any lien or security interest granted under the DIP Loan Documents, including any such UCC
            financing statement containing a super-generic description of collateral, such as “all assets,” “all
            property now or hereafter acquired” and other similar descriptions of like import, and to execute
            and deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
            respect of real property of the Company and such other filings in respect of intellectual and other
            property of the Company, in each case as the First Lien Lender may reasonably request to perfect
            the security interests of the First Lien Lender on behalf of itself and the other secured parties
            under the DIP Loan Documents; and it is further

                    RESOLVED, that each of the Authorized Officers be, and hereby are, authorized and
            empowered, in consultation with the Directors, to execute and deliver any amendments,
            supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
            of the DIP Credit Agreement or any of the other DIP Loan Documents or any of the other DIP
            Financing Documents, and to execute and file on behalf of the Company all petitions, schedules,
            lists and other motions, papers or documents, which shall in his or her sole judgment be
            necessary, proper or advisable, which determination shall be conclusively evidenced by his or
            her execution thereof; it is further

                    RESOLVED, that the Company will obtain benefits from the incurrence of the loans and
            letters of credit under the DIP Credit Agreement by the Borrower and the occurrence and
            consummation of the Financing Transactions under the DIP Credit Agreement and the DIP Loan
            Documents and the transactions under the DIP Financing Documents, which are necessary and
            appropriate to the conduct, promotion and attainment of the business of the Company; and it is
            further

                   RESOLVED, that the capitalized terms used in the resolutions under the caption
            “Debtor-in-Possession Financing” and not otherwise defined herein shall have the meanings
            ascribed to such terms in the DIP Credit Agreement.

            E.       General

                    RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
            Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
            they hereby are, authorized and empowered, in the name of and on behalf of the Company, to
            take or cause to be taken any and all such other and further action, and to execute, acknowledge,
            deliver, and file any and all such agreements, certificates, instruments, and other documents and
            to pay all expenses, including but not limited to filing fees, in each case as in such officer’s or
            officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out the intent
            and accomplish the purposes of the resolutions adopted herein; and it is further

                   RESOLVED, that all members of the Directors of the Company have received sufficient
            notice of the actions and transactions relating to the matters contemplated by the foregoing


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            resolutions, as may be required by the organizational documents of the Company, or hereby
            waive any right to have received such notice; and it is further

                   RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
            by the foregoing resolutions done in the name of and on behalf of the Company, which acts
            would have been approved by the foregoing resolutions except that such acts were taken before
            the adoption of these resolutions, are hereby in all respects approved and ratified as the true acts
            and deeds of the Company with the same force and effect as if each such act, transaction,
            agreement or certificate has been specifically authorized in advance by resolution of the
            Directors; and it is further

                   RESOLVED, that each of the Authorized Officers (and their designees and delegates) be
            and hereby are authorized and empowered to take all actions or to not take any action in the
            name of the Company with respect to the transactions contemplated by these resolutions
            hereunder as the sole shareholder, partner, member or managing member of each direct
            subsidiary of the Company, in each case, as such Authorized Officer shall deem necessary or
            desirable in such Authorized Officers’ reasonable business judgment as may be necessary or
            appropriate to effectuate the purposes of the transactions contemplated herein.

                    This Consent may be signed in one or more counterparts, each of which shall be deemed
            an original, and all of which shall constitute one instrument.

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            IN WITNESS WHEREOF, the undersigned have executed this Consent effective as of the date
            first set forth above.



            John Young




            David Pegg




            Russell Ragland




                                  Unanimous Consent of the Directors of EBH TOPCO, LLC
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                                                             Schedule 1

                                                     Company and Affiliates

                 •   EBH Topco, LLC
                 •   EBH Holding Company, Inc.
                 •   Elements Behavioral Health, Inc.
                 •   Assurance Toxicology Services, LLC
                 •   EBH Acquisition Subsidiary, Inc.
                 •   EBH Big Rock, Inc.
                 •   EBH Services of Florida, Inc.
                 •   EBH Northeast Services, Inc.
                 •   EBH Southwest Services, Inc.
                 •   Elements Screening Services, Inc.
                 •   Intensive Outpatient Services PA, Inc.
                 •   NE Sober Living, Inc.
                 •   Northeast Behavioral Services, Inc.
                 •   Outpatient Services FL, Inc.
                 •   Outpatient Services TN, Inc.
                 •   SoCal Rehab and Recovery, Inc.
                 •   Southeast Behavioral Health Services, Inc.
                 •   The Ranch on the Piney River, Inc.
                 •   The Sexual Recovery Institute, Inc.
                 •   Westside Sober Living Centers, Inc.
                 •   Spirit Lodge, LLC
                 •   San Cristobal Treatment Center, LLC
                 •   Ehrman Subsidiary Corp.
                 •   PROMAL2, Inc.
                 •   PROMAL4, Inc.
                 •   SBAR2, Inc.
                 •   Promises Residential Treatment Center VI, Inc.
                 •   Wrightsville Services, LLC
                 •   Elements Medical Group of Arizona, Inc.
                 •   TRS Behavioral Care, Inc.
                 •   Elements Medical Group of Mississippi, Inc.
                 •   Elements Medical Group of Utah, Inc.




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    Fill in this information to identify the case:
    Debtor name EBH TOPCO, LLC, et al.
    United States Bankruptcy Court for the: ________________ District of   DELAWARE
    Case number (If known): ______________                                                                                        Check if this is an amended
                                                                                                                                   filing
    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured
    Claims and Are Not Insiders                                   12/15
    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
    not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless
    the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                   Amount of unsecured claim
                                                                                                                                   If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                   amount. If claim is partially secured, fill in total claim
                                                                                                              Indicate if claim is amount and deduction for value of collateral or setoff to
       Name of creditor and complete mailing         Name, telephone number, and email
                                                                                          Nature of the claim    contingent,       calculate unsecured claim.
           address, including zip code                  address of creditor contact
                                                                                                                unliquidated,
                                                                                                                                                         Deduction for
                                                                                                                   disputed
                                                                                                                                   Total claim, if       value of            Unsecured
                                                                                                                                   partially secured collateral or           claim
                                                                                                                                                         setoff
1   GEORGE JOSEPH                                 GEORGE JOSEPH                           Legal Settlement                                                                   $2,500,000
    2526 BELLMEADE STREET
    HOUSTON, TX 77019                             PHONE: 713-819-2255
    UNITED STATES                                 EMAIL: CEO@GEORGEJOSEPH.COM



2   ROBIN BARNETT                                 ROBIN BARNETT                           Unsecured Notes                                                                   $2,337,353
    1 SEAGARDEN DRIVE
    LINWOOD, NJ 08221                             PHONE: 608-513-5972
    UNITED STATES                                 EMAIL: RMBARN@AOL.COM



3   RANDI MASSEY-ALVARADO                         RANDI MASSEY-ALVARADO                   Unsecured Notes                                                                   $2,337,353
    301 FOREST DRIVE
    LINWOOD, NJ 08221                             PHONE: 609-432-6615
    UNITED STATES                                 EMAIL: RANDIK1002AOL.COM



4   GOODWIN PROCTER LLP                           MARK J. ABATE                           Trade Payable                                                                     $2,045,000
    100 NORTHERN AVE
    BOSTON, MA 02210                              PHONE: 617-570-1000
    UNITED STATES                                 FAX: 617-523-1231
                                                  EMAIL:
                                                  MABATE@GOODWINLAW.COM
5   KPMG LLP                                      LYNNE M. DOUGHTIE                       Trade Payable                                                                     $1,324,479
    345 PARK AVENUE                               CHAIRMAN
    NEW YORK, NY 10154-0102
    UNITED STATES                                 PHONE: 212-758-9700
                                                  FAX: 212-758-9819

6   WBL MANAGEMENT, LLC                           ATTN: DAVID NAVARRO                     Legal Settlement                                                                  $650,000
    7373 BROADWAY                                 ATTORNEY
    SUITE 300
    SAN ANTONIO, TX 78209                         PHONE: 210-271-1700
    UNITED STATES                                 FAX: 210-271-1740
                                                  EMAIL: DNAVARRO@HFGTX.COM
7   WPROMOTE, LLC                                 MICHAEL STONE                           Trade Payable        Disputed                                                     $556,511
    2100 E GRAND AVE
    FIRST FLOOR                                   PHONE: 310-421-4844
    EL SEGUNDO, CA 90245                          EMAIL: MSTONE@WPROMOTE.COM
    UNITED STATES

8   ALVARADO & BARNETT, LLC                       RANDI MASSEY-ALVARADO AND               Trade Payable                                                                     $266,551
    301 FOREST DRIVE                              ROBIN BARNETT
    LINWOOD, NJ 08221
    UNITED STATES                                 PHONE: 609-432-6615 AND 608-513-
                                                  5972
                                                  EMAIL: RANDIK1002AOL.COM AND
                                                  RMBARN@AOL.COM
                                                           Case 18-11216
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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
              Name of creditor and complete mailing                      Name, telephone number, and email
                                                                                                              Nature of the claim    contingent,       calculate unsecured claim.
                  address, including zip code                               address of creditor contact
                                                                                                                                    unliquidated,
                                                                                                                                                                             Deduction for
                                                                                                                                       disputed
                                                                                                                                                       Total claim, if       value of            Unsecured
                                                                                                                                                       partially secured collateral or           claim
                                                                                                                                                                             setoff
     9    BAKER & HOSTETLER LLP                                        HEWITT B. SHAW                         Trade Payable                                                                      $246,001
          127 PUBLIC SQ                                                MANAGING PARTNER
          STE. 2000
          CLEVELAND, OH 44114-1214                                     PHONE: 216-621-0200
          UNITED STATES                                                FAX: 216-696-0740
                                                                       EMAIL: HSHAW@BAKERLAW.COM
     10 TEXICAN INC                                                    LARRY WINNINGHAM                       Trade Payable                                                                     $173,016
        C/O WINNINGHAM BECKER & CO LLP                                 CPA
        21031 VENTURA BLVD SUITE 1000
        WOODLAND HILLS, CA 91364                                       PHONE: 818-598-6525
        UNITED STATES                                                  FAX: 818-598-6535
                                                                       EMAIL: INFO@WBAC.COM
     11 MICROSOFT ONLINE INC (BING ADS)                                BRAD SMITH                             Trade Payable                                                                     $135,967
        SUBSIDIARY OF MICROSOFT INC                                    PRESIDENT
        ONE MICROSOFT WAY
        REDMOND, WA 98052-6399                                         PHONE: 425-882-8080
        UNITED STATES                                                  FAX: 425-706-7329

     12 ALLSCRIPTS LLC                                                 DANIELLE PROTEXTER                     Trade Payable        Disputed                                                     $134,946
        222 MERCHANDISE MART PLAZA                                     ASSOCIATE MANAGER
        SUITE 2024
        CHICAGO, IL 60654                                              PHONE: 800-334-8534
        UNITED STATES                                                  EMAIL:
                                                                       DANIELLE.PROTEXTER@ALLSCRIPT
                                                                       S.COM
     13 QUANTUM ANALYTICS                                              MARTY KALOOSTIAN             Trade Payable                                         $173,468           $56,554            $116,914
        3400 EAST THIRD AVENUE                                         PRESIDENT
        FOSTER CITY, CA 94404
        UNITED STATES                                                  PHONE: 650-312-0900
                                                                       FAX: 650-312-0313



     14 RELIASTAR LIFE INSURANCE COMPANY CAROLYN MACBURNEY JOHNSON                                            Trade Payable                                                                     $114,866
        20 WASHINGTON AVENUE SOUTH       PRESIDENT
        MINNEAPOLIS, MN 55401
        UNITED STATES                    PHONE: 612-372-5432
                                         FAX: 612-372-5339



     15 STAPLES ADVANTAGE                                              J. ALEXANDER DOUGLAS                   Trade Payable                                                                     $106,368
        500 STAPLES DR                                                 PRESIDENT
        FRAMINGHAM, MA 01702
        UNITED STATES                                                  PHONE: 508-253-5000
                                                                       FAX: 508-253-5476
                                                                       EMAIL:
                                                                       SUPPORT@ORDERS.STAPLES.COM
     16 STEEL HOUSE INC                                                MARK DOUGLAS                           Trade Payable                                                                     $105,718
        3644 EASTHAM DR                                                PRESIDENT & CEO
        CULVER CITY, CA 90232
        UNITED STATES                                                  PHONE: 844-773-7171
                                                                       EMAIL:
                                                                       STEELHOUSE@SHIFTCOMM.COM
     17 RR DONNELLEY                                                   DANIEL L. KNOTTS                       Trade Payable                                                                     $102,206
        35 WEST WACKER DRIVE                                           PRESIDENT & CEO
        CHICAGO, IL 60601
        UNITED STATES                                                  PHONE: 800-742-4455



     18 BACHMAN'S ROOFING,BUILDING &                                   ERIC BACHMAN                           Trade Payable                                                                     $100,396
        REMODELING INC                                                 OWNER
        36 S ELM ST
        WERNERSVILLE, PA 19565                                         PHONE: 610-678-8004
        UNITED STATES                                                  FAX: 610-670-7151




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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
              Name of creditor and complete mailing                      Name, telephone number, and email
                                                                                                              Nature of the claim    contingent,       calculate unsecured claim.
                  address, including zip code                               address of creditor contact
                                                                                                                                    unliquidated,
                                                                                                                                                                             Deduction for
                                                                                                                                       disputed
                                                                                                                                                       Total claim, if       value of            Unsecured
                                                                                                                                                       partially secured collateral or           claim
                                                                                                                                                                             setoff
     19 GOOGLE INC                                                     LARRY PAGE                             Trade Payable                                                                      $100,192
        1600 AMPHITHEATRE PARKWAY                                      CEO & DIRECTOR
        MOUNTAIN VIEW, CA 94043
        UNITED STATES                                                  PHONE: 650-253-0000
                                                                       FAX: 650-253-0001


     20 WILSON ELSER MOSKOWITZ EDELMAN                                 ROGERY LUM                             Trade Payable                                                                     $96,586
        & DICKER                                                       REGIONAL MANAGING PARTNER
        150 E.42ND ST
        NEW YORK, NY 10017                                             PHONE: 212-490-3000
        UNITED STATES                                                  FAX: 212-490-3038
                                                                       EMAIL:
                                                                       LARRY.LUM@WILSONELSER.COM
     21 AGILENT TECHNOLOGIES INC                                       MICHAEL TANG                           Trade Payable                                                                     $94,024
        5301 STEVENS CREEK BLVD.                                       GENERAL COUNSEL
        SANTA CLARA, CA 95051
        UNITED STATES                                                  PHONE: 408-345-8886
                                                                       FAX: 408-345-8474



     22 BUTLER SNOW LLP                                                DONALD CLARK, JR.                      Trade Payable                                                                     $86,183
        RENAISSANCE AT COLONY PARK                                     MANAGING PARTNER
        1020 HIGHLAND COLONY PARKWAY,
        SUITE 1400                                                     PHONE: 601-985-4586
        RIDGELAND, MS 39158-6010                                       FAX: 601-985-4500
        UNITED STATES                                                  EMAIL:
                                                                       DON.CLARK@BUTLERSNOW.COM
     23 BDO SEIDMAN, LLP                                               WAYNE BERSON                           Trade Payable                                                                     $76,369
        600 ANTON BLVD STE 500                                         CHIEF EXECUTIVE OFFICER
        COSTA MESA, CA 92626
        UNITED STATES                                                  PHONE: 714-957-3200
                                                                       FAX: 714-957-1080

     24 LINKEDIN CORPORATION                                           JEFFREY WEINER                         Trade Payable                                                                     $76,139
        2029 STIERLIN COURT                                            CHIEF EXECUTIVE OFFICER
        MOUNTAIN VIEW, CA 94043
        UNITED STATES                                                  PHONE: 650-687-3600
                                                                       FAX: 650-810-2897
                                                                       EMAIL: SUPPORT@LINKEDIN.COM
     25 PERSHING YOAKLEY & ASSOCIATES P.C CATHERINE BUNCH                                                     Trade Payable                                                                     $71,153
        2220 SUTHERLAND AVE               PRINCIPAL
        KNOXVILLE, TN 37919
        UNITED STATES                     PHONE: 865-673-0844
                                          FAX: 865-673-0173

     26 CORESOURCE INC                                                 NANCY ECKRICH                          Trade Payable                                                                     $63,948
        400 FIELD DRIVE                                                PRESIDENT & CEO
        LAKE FOREST, IL 60045
        UNITED STATES                                                  PHONE: 847-604-9200
                                                                       FAX: 847-615-3900



     27 MED METRIX LLC                                                 JOSEPH H. DAVI                         Trade Payable                                                                     $63,889
        9 ENTIN RD 3RD FL                                              CEO, PRESIDENT & DIRECTOR
        PARSIPPANY, NJ 07054
        UNITED STATES                                                  PHONE: 201-782-0200
                                                                       FAX: 201-782-0108



     28 INSIGHT DIRECT USA, INC                                        KEN LAMNECK                            Trade Payable                                                                     $59,079
        6820 S HARL AVE                                                PRESIDENT & CEO
        TEMPE, AZ 85283
        UNITED STATES                                                  PHONE: 480-889-9500
                                                                       FAX: 480-333-3330



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                                                           Case 18-11216
Debtor    EBH TOPCO, LLC, et al.                                    
                                                                                             Doc 1           Filed 05/23/18 Case Number (if known)  ______________________________________
                                                                                                                               Page 23 of 23
                  Name


                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
              Name of creditor and complete mailing                      Name, telephone number, and email
                                                                                                              Nature of the claim    contingent,       calculate unsecured claim.
                  address, including zip code                               address of creditor contact
                                                                                                                                    unliquidated,
                                                                                                                                                                             Deduction for
                                                                                                                                       disputed
                                                                                                                                                       Total claim, if       value of            Unsecured
                                                                                                                                                       partially secured collateral or           claim
                                                                                                                                                                             setoff
     29 LEUCADIA NATIONAL CORPORATION                                  RICHARD B. HANDLER                     Trade Payable                                                                      $58,392
        (JEFFERIES LLC)                                                CEO
        520 MADISON AVE BSMT A
        NEW YORK, NY 10022                                             PHONE: 212-460-1900
        UNITED STATES                                                  FAX: 212-598-4869

     30 MACIAS GINI & O'CONNELL LLP                                                                           Trade Payable                                                                     $51,948
        3000 S STREET
        SUITE 300                                                      PHONE: 916-928-4600
        SACRAMENTO, CA 95816                                           FAX: 916-928-2755
        UNITED STATES




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